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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                             Case No. 3:14cr98/MCR

CHARLIE N. STEANS
____________________________/

                         ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, the plea of guilty of the Defendant,
CHARLIE N. STEANS, to Counts One and Two of the Superseding Indictment is hereby
ACCEPTED. All parties shall appear before this Court for sentencing as directed.
      DONE and ORDERED this 25th day of February, 2015.



                                          s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         CHIEF UNITED STATES DISTRICT JUDGE
